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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

                                       )
ACADIA PHARMACEUTICALS INC.,           )
                                       )
                        Plaintiff,     )
                                       )
                  v.                       C.A. No. 20-985-GBW
                                       )
                                       )
AUROBINDO PHARMA LIMITED et al.,       )   CONSOLIDATED
                                       )
                        Defendants.    )
                                       )
                                       )


           ACADIA’S ANSWERING BRIEF IN OPPOSITION TO MSN’S
            MOTION FOR SUMMARY JUDGMENT OF INVALIDITY
           OF U.S. PATENT NO. 7,601,740 FOR DOUBLE PATENTING
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       MSN’s Motion for Summary Judgment of Invalidity of U.S. Patent No. 7,601,740 (“’740

patent”) for Double Patenting (D.I. 260) should be denied and Acadia’s cross-motion granted.1

I.     NATURE OF THE PROCEEDINGS

       Five generic pharmaceutical manufacturers initially challenged the validity of the ’740

patent, which protects the invention of the compound pimavanserin, the active ingredient of

Acadia’s groundbreaking drug NUPLAZID®. All except for MSN have ended their challenges.

As to MSN, it has one defense that it continues to press—an assertion that Claim 26 of the ’740

patent is invalid for obviousness-type double patenting (“OTDP”) based on Acadia’s U.S. Patent

No. 9,566,271 (“’271 patent”). The ’271 patent descends from the same application as the ’740

patent, and was both filed and issued after the ’740 patent.2 As discussed below, the ’740 patent

was and is rightfully granted, and is not subject to double patenting based on the later patent.3

II.    SUMMARY OF ARGUMENT

       Acadia owns the ’740 and ’271 patents. Acadia first filed the application that issued as

the ’740 patent. During the prosecution of that application, the Patent and Trademark Office

(“PTO”) determined that the claims needed to be divided into more than one application. Acadia

filed additional applications directed to this subject matter. One of those applications issued later

as the ’271 patent. Accordingly, both the ’740 and ’271 patents trace back to the same effective

filing date, but the ’271 patent is a later-filed, later-issued patent. Because the PTO spent more


1
  The parties agree that a denial of MSN’s motion would result in final judgment in favor of
Acadia. MSN stipulated that its product infringes Claim 26 of the ’740 patent. (D.I. 257.) The
parties stipulated to a specific set of undisputed facts. (D.I. 258.) MSN misstates these facts as
agreed. Acadia respectfully refers the Court to D.I. 258 for the actual facts as agreed.
2
  OTDP may be cured with the filing of a “terminal disclaimer” at the PTO. See e.g., Boehringer
Ingelheim Int’l GmbH v. Barr Lab’ys, Inc., 592 F.3d 1340, 1347 (Fed. Cir. 2010) (“[A] patentee
may file a disclaimer after issuance of the challenged patent or during litigation, even after a
finding that the challenged patent is invalid for obviousness-type double patenting”). Because
MSN fails to prove OTDP, Acadia disagrees that any terminal disclaimer is needed.
3
  MSN does not assert that the ’271 patent is double patenting based on the ’740 patent.


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time reviewing the initial application, creating delay in its grant, the PTO granted the ’740 patent

a statutory patent term adjustment of 980 days under 35 U.S.C. § 154(b) (“PTA”). MSN now

attempts to take away that statutory grant using the judge-made OTDP doctrine. That outcome is

inequitable and contrary to applicable law.

       Two independent bases compel denial of MSN’s motion. First, the ’271 patent cannot be

used as an OTDP reference against the ’740 patent because the Safe Harbor of 35 U.S.C. § 121

applies. MSN misinterprets and misapplies § 121 in this situation, where it is challenging an

original patent (’740 patent) using a later patent as the reference (’271 patent).

       Second, OTDP may not override the PTA of the ’740 patent, particularly under the

present facts. OTDP, a judge-made doctrine designed to prevent a patentee from creating an

unjustified, time-wise extension of patent exclusivity by filing later applications to obtain later

patent grants and later expiration dates, is not applicable under the undisputed facts of this case.

Gamesmanship did not, and could not, have occurred in the present case. This is a

straightforward instance of a subsequent patent in the same family (’271) receiving a shorter

term than an earlier-filed and earlier-issued patent (’740)—the opposite of what the OTDP

doctrine is intended to prevent—because only the original ’740 patent qualified for PTA.

III.   SUMMARY OF UNDISPUTED FACTS

       A timeline of the relevant undisputed facts is included in Exhibit A.

       A.      Relevant Patent Filing, PTA, and Expiration Dates

       Acadia owns the ’740 and ’271 patents. Acadia originally filed U.S. Patent Application

No. 10/759,561 (“’561 application”) on January 15, 2004, which eventually gave rise to the ’740

patent granted on October 13, 2009. ((D.I. 158), JSUF ¶ 13, 16, 23; JSUF Ex. 2 at 0006, field

(21)). Claim 26 of the ’740 patent is directed to the tartrate salt of pimavanserin. (JSUF ¶ 44).

       The ’271 patent issued over seven years later, on February 14, 2017, from a series of


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applications tracing back to U.S. Patent Application No. 11/416,527 (“’527 application”), filed

on May 3, 2006. The ’527 application was a “divisional” from the ’561 application because the

PTO had “restricted” the ’561 application to the compound and not methods of using it. (JSUF

¶ 16, 25, 33; JSUF Ex. 4). Claim 5 of the ’271 patent is thus directed to a method for treating

hallucinations or delusions by administering the tartrate salt of pimavanserin. (JSUF ¶ 44).

       The PTO calculated that it delayed issuance of the initially examined ’740 patent and

granted 980 days of PTA. As a result, while the ’740 and ’271 patents have the same 20-year

statutory term under § 154(a)(2) that ends on January 15, 2024, a PTA sets the expiration date of

the ’740 patent to September 21, 2026. (JSUF ¶¶ 17, 19-22; JSUF Ex. 8 at 0386-87). MSN does

not challenge the fact that the PTA was properly measured and granted.4

       B.      The ’561 Application: Relevant Restriction Requirements and Responses

       On July 5, 2007, the PTO issued a restriction requirement in the first Office Action for

the ’561 application, stating that the then-pending claims contained seven groups of “distinct”

inventions, Groups I-VII, and requiring the applicant to elect a single group for further

prosecution. (JSUF ¶ 26; JSUF Ex. 5 at 0132). Group I was compounds and compositions,

independent and distinct from the inventions of Groups II-V, directed to methods of using the

compounds of Group I. (JSUF ¶ 26; JSUF Ex. 5 at 0133-35). Acadia elected to prosecute the

inventions of Group I (compounds and compositions) in the ’561 application. (JSUF ¶¶ 27-31).

Acadia pursued its additional inventions in separate applications, including the ’527 application

filed May 3, 2006.


4
 The PTO also granted the ’740 patent an additional extension of 1,315 days under 35 U.S.C.
§ 156 (“PTE”) to compensate for FDA delay, which MSN does not challenge in any respect. See
Merck & Co. v. Hi-Tech Pharmacal Co., 482 F.3d 1317, 1320 (Fed. Cir. 2007) (discussing the
policy bases for PTEs based on FDA delay); see also Novartis AG v. Ezra Ventures LLC, 909
F.3d 1367, 1373-75 (Fed. Cir. 2018) (“§ 156 mandates a term extension so long as the other
enumerated statutory requirements for a PTE are met”).

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       C.      The ’527 Application: Relevant Restriction Requirements and Responses

       On June 1, 2009, the Examiner issued the first Office Action in the ’527 application

requiring an “election of species.” (JSUF ¶ 34; JSUF Ex. 7 at 0298-303). Acadia responded by

canceling all pending claims and adding new claims that fell within Group IV of the ’561

application’s July 5, 2007 restriction requirement. (JSUF ¶¶ 36-37; JSUF Ex. 7 at 0311-12).

Acadia also stated, “Upon entry of the instant amendment, applicants will amend the claim of

priority such that the instant [’527] application will be a divisional of the ’561 application.”

(JSUF Ex. 7 at 0312).

       On January 26, 2010, the PTO allowed the new claims in the ’527 application, and on

April 13, 2010, Acadia amended the ’527 application’s specification pursuant to 37 C.F.R.

§ 1.312, changing the word “continuation” to “divisional” to confirm that it is a divisional of the

’561 application, to which the PTO was previously apprised on July 1, 2009. (JSUF ¶¶ 38-39;

JSUF Ex. 7 at 0357-59). The PTO accepted the amendment. (JSUF ¶ 38).

IV.    ARGUMENT

       A.      The ’740 Patent Is Immune from MSN’s Arguments Under 35 U.S.C. § 121

       When it applies, 35 U.S.C. § 121 precludes OTDP arguments in litigation (“Safe

Harbor”). “The safe harbor provision arose from difficulties created by restriction requirements

imposed by the [PTO] during examination, followed by double patenting challenges in the

courts. . . . This conflicting result was recognized as inherently unfair, and the safe harbor was

created to preclude it.” St. Jude Med., Inc. v. Access Closure, Inc., 729 F.3d 1369, 1376–77

(Fed. Cir. 2013). While the Federal Circuit has acknowledged that “[t]he safe harbor provision”

is “not a model of clarity,” see id., the Court has nonetheless found its purpose to be apparent,

stating, “the purpose of § 121 . . . [is] to prevent a patentee who divides an application in which a

restriction requirement has been made from risking invalidity due to double patenting,” see


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Boehringer, 592 F.3d at 1350, 1352 (“The safe harbor is provided to protect an applicant from

losing rights when an application is divided”) (emphasis added).

       Under the language of the statute, the “original application” (or patent issued thereon),

which is the application in which the restriction requirement was made, has paramount protection

from later filed applications. See, e.g., Pfizer, Inc. v. Teva Pharms. USA, Inc., 518 F.3d 1353,

1360, 1362 (Fed. Cir. 2008) (“[S]afe harbor, by its literal terms, protects only ‘divisional

application[s]’ (or the original application) and patents issued on such applications . . . [T]he

drafters of section 121 chose to refer specifically and only to divisional (and original)

applications” within the scope of safe harbor protection) (emphasis added). Unlike the cases

cited by MSN , where defendants challenged descendant patents, sometimes using the original

patent as the reference, here, MSN is attempting to challenge the validity of a patent issuing from

the original application (’740 patent), using its descendant, a continuation of a divisional (’271

patent), as the OTDP reference patent. Under the Safe Harbor provision, however, a patent

which issued on the original application cannot be invalidated for OTDP based on a patent which

issued on an application that was filed as a result of a restriction requirement in said original

application. This makes sense because a patent owner should at least remain entitled to their

first-filed patent when the PTO necessitates later filed applications. MSN’s arguments that Safe

Harbor does not apply are without merit on the present facts. Thus, MSN cannot use the ’271

patent as a reference against the ’740 patent.

               1.      MSN Erroneously Interprets the Requirements for Safe Harbor

       MSN argues that “the ’271 patent is properly a reference against the ’740 patent” (MSN

Br. at 13) because the “safe harbor can only apply if (1) the divisional application is ‘filed as a

result of’ the restriction requirement; and (2) the divisional application is filed before the

issuance of a patent from the original application” (MSN Br. at 2). But MSN’s assertion is not


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 grounded in the language of the Safe Harbor statute or legal precedent. MSN appears to

 approach its analysis from the wrong perspective—where the patent being challenged had issued

 on a later-filed continuation of a divisional application, and the argument is whether this

 continuation is properly considered a divisional such that it could receive protection from

 reference patents under the Safe Harbor.5 (See MSN Br. at 10 n.3). Here, the patent being

 challenged is the original patent, not a continuation of a divisional, and therefore neither of

 MSN’s purported requirements could possibly apply. As discussed below in IV.A.2, the text of

 § 121 protects an original patent from all manner of “application[s] filed as a result of such a

 requirement [for restriction],” i.e., the restriction requirement made in the original application,

 and does not require the reference patent to specifically issue on a “divisional” application. As

 such, when the original patent is the one being challenged, there is no requirement under the Safe

 Harbor that a divisional be filed at all, let alone before the issuance of the original patent.

                2.      The Correct Requirements for Safe Harbor

        The Safe Harbor statute is complex and has several potential permutations of

 requirements to invoke Safe Harbor, depending on what type of patent is being used as a

 reference patent and what type is being challenged. 35 U.S.C. § 121 provides that:

        If two or more independent and distinct inventions are claimed in one application, the
        Director may require the application to be restricted to one of the inventions. If the other
        invention is made the subject of a divisional application which complies with the
        requirements of section 120 it shall be entitled to the benefit of the filing date of the original
        application. A patent issuing on an application with respect to which a requirement
        for restriction under this section has been made, or on an application filed as a result
        of such a requirement, shall not be used as a reference either in the Patent and

 5
   MSN mistakenly treats the ’271 patent as if it is being afforded protection, exemplified by its
 citation to Symbol. (MSN Br. at 10 n.3) (Asserting “[t]he ’271 patent issued from a string of
 seven continuation applications that trace back to the ’527 application . . . The prosecution of
 continuation applications of a divisional application is considered part of the prosecution of the
 divisional application, for the purpose of applying OTDP. Symbol Technologies, Inc. v. Opticon,
 Inc., 935 F.2d 1569, 1579 (Fed. Cir. 1991) . . . . Of course, if the ‘divisional’ does not receive
 § 121 safe harbor treatment, continuations from that divisional do not either”).


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        Trademark Office or in the courts against a divisional application or against the original
        application or any patent issued on either of them, if the divisional application is filed
        before the issuance of the patent on the other application.

 35 U.S.C. § 121 (emphasis added).

        The third sentence of § 121 contains the Safe Harbor provision. In order to better explain

 the operation of this sentence, we have broken it into two parts: bolded and underlined. The

 bolded part identifies two types of patents that “shall not be used as a reference either in the

 Patent and Trademark Office or in the courts” (reference patents): (1) “a patent issuing on an

 application with respect to which a requirement for restriction under this section has been made”

 or (2) “a patent issuing . . . on an application filed as a result of such a requirement.”6 Since

 MSN has identified the ’271 patent as the reference patent, only type (2) is relevant here: “A

 patent issuing . . . on an application filed as a result of a restriction requirement shall not

 be used as a reference either in the Patent and Trademark Office or in the courts . . . .”

        The underlined part of the sentence describes patents/applications that are being

 challenged: (a) “divisional application[s]” and any patents issuing on them, and (b) “original

 application[s]” and any patents issuing on them. Taken with the relevant bold language from

 type (2), we can see how this underlined language applies to divisional patents by omitting the

 language specific to original applications/patents, and vice versa, as follows:




 6
   Section 121 uses the phrase “on an application” for both type (1) and (2) reference patents, and
 does not specify that type (2) must be “a divisional application.” In fact, type (1) clearly cannot
 require “an application” to be “a divisional application” because it encapsulates the “original
 application,” thus under the presumption of consistent usage, type (2) also cannot be restricted to
 only “divisional applications” either. IBP, Inc. v. Alvarez, 546 U.S. 21, 34 (2005) (“[T]he
 normal rule of statutory interpretation [is] that identical words used in different parts of the same
 statute are generally presumed to have the same meaning”).


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        (a) Protection of a Divisional Application from OTDP Arguments Based on Type 2
            Reference Patents

                A patent issuing . . . on an application filed as a result a restriction
                requirement shall not be used as a reference either in the Patent and
                Trademark Office or in the courts against a divisional application . . . or any
                patent issued on [it], if the divisional application is filed before the issuance of the
                patent on the other application

        (b) Protection of the Original Application from OTDP Arguments Based on Type 2
            Reference Patents

                A patent issuing . . . on an application filed as a result of a restriction
                requirement shall not be used as a reference either in the Patent and
                Trademark Office or in the courts . . . against the original application or any
                patent issued on [it] . . .

        Here, the language of (b) applies, not (a), because MSN is attempting to challenge the

 validity of the ’740 patent, which is the patent issuing on the original application. Appropriately

 inserting the ’271 and ’740 patents into the language of (b) results in the following requirements

 for Safe Harbor to apply in this case: if the ’271 patent issued on an application filed as a result

 of a restriction requirement in the ’740 patent, the ’271 patent shall not be used as a reference in

 the courts against the ’740 patent.

                3.      Safe Harbor Applies in this Case

        The ’271 patent was filed “as a result of” a restriction requirement in the ’740 patent, thus

 Safe Harbor applies. The “as a result of” requirement is met simply when (1) “[t]he [descendant]

 application was ‘due to the administrative requirements imposed by the [PTO]’ . . . in the sense

 that, absent the restriction requirement, the applicant could have retained in the [original]

 application . . . the claims prosecuted in the [descendant] application,” and (2) consonance is

 maintained. Boehringer, 592 F.3d at 1353 n.3, 1353-54. Here, the ’271 patent issued on U.S.

 Patent Application No. 14/935,246 (“’246 application”), which descends from the original ’561

 application. (JSUF ¶ 21). The ’246 application meets the “as a result of” requirements because



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 (1) the claims of the ’246 application (descendant) are directed to methods of use of

 pimavanserin (Group IV inventions) that could have been retained in the ’561 application

 (original) absent the 2007 restriction requirement (which identified 7 distinct groups of

 inventions) and (2) consonance with the 2007 restriction requirement was maintained.7 These

 facts are not in dispute. (JSUF ¶¶ 26, 44). Thus, Safe Harbor applies.

                4.      The Facts Here Also Meet MSN’s Incorrect “Requirements”

        Even if both of MSN’s purported requirements applied, § 121 would still apply.

                        a) MSN’s First Requirement Is Met: The ’527 Application Was Filed
                           “as a Result of” the ’561 Application Restriction

        MSN argues that the “as a result of” requirement in § 121 is not met because “[t]he ’527

 Application that led to the ’271 patent was voluntarily filed as a continuation application in May

 2006, more than one year before the first restriction requirement was placed on the original ’561

 Application,” and thus “could not have been filed as a result of the July 2007 restriction

 requirement.” (MSN Br. at 10-11). As discussed below, such argument is contrary to law.

        Although the ’527 application was initially filed before the July 2007 restriction

 requirement, Acadia amended the ’527 application on July 1, 2009, consistent with the restriction

 requirement in the original ’561 application before a patent issued on the ’527 application. This

 included cancelling all previously pending claims and specifically noting that Acadia was adding

 new claims “within group IV (claims 40-47) of the Restriction Requirement dated July 5, 2007 in

 the ’561 Application.” (JSUF ¶¶ 36-37).



 7
   The restriction requirement identified seven separate inventions in the ’561 application. In
 relevant part, Group IV (Claims 40-47) were “drawn to a method for treating a neuropsychiatric
 disease, classified in class 514, subclass 653.” (JSUF ¶ 26). This is consonant with (i.e.,
 consistent with) the restriction. Boehringer, 592 F.3d at 1354 (“[C]onsonance requires that the
 line of demarcation between the ‘independent and distinct inventions’ that prompted the
 restriction requirement be maintained”).

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        In Union Carbide Corp. v. Dow Chem. Co., 619 F. Supp. 1036 (D. Del. 1985), the court

 found the “as a result of” requirement was met when the second-filed application was filed

 before the entrance of the relevant restriction requirement in the first-filed, original application.

 In Union Carbide, the Safe Harbor applied to a second-filed application (Stamberger III

 application) that had initially been identified as a non-divisional application prior to the

 restriction requirement in the original application (Stamberger II application), and which was

 later amended to comport with the restriction requirement prior to the issuance of the patent. Id.

 at 1059-60. In relevant part, the court explained:

        There is no question that Stamberger III was ‘filed,’ in the sense that an application was
        placed on record with the PTO and an application number assigned, before restriction of
        Stamberger II was ordered. Following restriction, however, the pending claims of
        Stamberger III were cancelled in their entirety and new claims were added to reflect those
        deleted from Stamberger II because of the PTO requirement. With the filing of the
        Stamberger III amendment, the PTO was apprised that such action was taken pursuant to
        the office’s requirement for restriction. Where, as here, the claims of an application are
        amended in toto to reflect the division of a copending application, I conclude that the
        amended application is one ‘filed as a result of such a requirement’ as set forth in
        section 121. No practical distinction exists between an application filed for the first
        time as a result of a restriction requirement, and an application which is amended in
        full to comport with that requirement. I am therefore not convinced that section 121
        was intended to include only the former and decline to limit the statute's application based
        on a formalistic rule.

 Id. (emphasis added). Similarly, in the present case, the claims of the previously filed ’527

 application were amended in toto to reflect the division (restriction requirement) of the co-

 pending ’561 application after the restriction requirement was made.

        In Boehringer, consistent with Union Carbide, the Federal Circuit found that “the choice

 of how to prosecute non-elected inventions [following a restriction requirement] is up to the

 applicant and is constrained neither by the terms of an examiner’s restriction requirement nor by

 the language of § 121.” Boehringer, 592 F.3d at 1352-54 (holding two serially-filed divisional

 applications met the “as a result of” requirement, despite not complying with the requirements of



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 § 121 for part of prosecution). Boehringer further emphasized that “[s]ection 121 is not

 concerned with . . . how any [particular divisional] applications are filed. To prevent loss of the

 safe harbor in dividing out claims to non-elected inventions, what is required is consonance with

 the restriction requirement.” Id. at 1353-54. Thus, “inquiry into whether the Safe Harbor rule

 applies requires analysis of the issued claims” and not the path to those claims. Immunex Corp.

 v. Sandoz Inc., 395 F. Supp. 3d 366, 412-13 (D.N.J. 2019), aff'd, 964 F.3d 1049 (Fed. Cir. 2020)

 (emphasis added) (citing Boehringer and holding “[t]he USPTO allows application amendments

 at any time and does not provide temporal limits for the Safe Harbor provision to apply” while

 providing Safe Harbor protection to an application that was amended to maintain consonance ten

 years after the application was originally filed).

        Union Carbide and Boehringer demonstrate that—contrary to MSN’s position—an

 application does not have to be filed directly “as a result of” a restriction requirement because

 intervening steps are allowed.8 Indeed, under these cases, an application can be filed before the

 restriction requirement in the original application if the claims are subsequently amended to

 comport with the restriction requirement.

                        b) MSN’s Second Requirement Is Met: The ’527 Application Was
                           Filed Before the ’740 Patent Issued

        MSN argues that because “the ’740 patent, had issued six months before Acadia’s [April

 13, 2010] ‘change of status’ amendment on the ’527 application,” that “such an amendment



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   MSN cites to G.D. Searle LLC v. Lupin Pharms., Inc., 790 F.3d 1349 (Fed. Cir. 2015) and In re
 Janssen Biotech, Inc., 880 F.3d 1315 (Fed. Cir. 2018), but they do not apply here. (MSN. Br. at
 8, 9, 12.) In both cases, the Federal Circuit rejected attempts by patentees to re-designate
 challenged continuation-in-part patents as divisionals, years after those challenged patents
 issued, because the patentees had already enjoyed the benefit of claiming new subject matter
 through a continuation-in-part at the public's expense. See Janssen, 880 F.3d at 1323. The
 instant case does not involve a continuation-in-part application or re-designating the challenged
 ’740 patent after issuance.


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 outside of the safe harbor window . . . does not, and cannot, trigger the safe harbor protection

 against OTDP.” (MSN Br. at 12). Even if MSN were right that in order to protect the ’740

 patent from the ’271 patent, the ’527 application, as the first divisional, needed to be filed prior

 to the issuance of the ’740 patent, Acadia would also meet that requirement.9 Per 35 U.S.C.

 § 111(a)(4), “[t]he filing date of an application shall be the date on which a specification, with or

 without claims, is received in the United States Patent and Trademark Office.” The ’527

 application was filed on May 3, 2006, before the ’740 patent issued (JSUF ¶ 21), and the PTO

 accepted Acadia’s amendment as timely re-designating the ’527 application as a divisional. In

 addition, Acadia also stated its intent to re-designate to a divisional upon the PTO’s acceptance

 of the amended claims before the ’740 patent issued. (JSUF ¶¶ 36-37; JSUF Ex. 7 at 0311-12).

        There is no provision in the patent laws for a different filing date to be accorded if a

 continuation application is reclassified as a divisional application before the issuance of that

 application. Consistent with 35 U.S.C. § 111(a)(4), the PTO identified the ’527 application as a

 divisional application and accorded it a May 3, 2006 filing date. (JSUF Ex. 3 at 0035 (“filed on

 May 3, 2006, now Pat. No. 7,732,462, which is a division of application No. 10/759,561”)).

        The PTO made a procedural determination of filing date consistent with the applicable

 statute. Id. MSN has not challenged the PTO’s determination nor is there any viable avenue for

 MSN to do so. See, e.g., Aristocrat Techs. Austl. PTY Ltd. v. Int’l Game Tech., 543 F.3d 657,




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   Such a holding would be illogical, however, as the Federal Circuit noted, “§ 121 refers broadly
 to ‘a divisional application,’ and does not state that the divisional must be a direct divisional of
 the original application. Had Congress intended to limit the safe harbor only to a divisional of
 the application in which the restriction requirement was entered, it could have said ‘a divisional
 application of the original application,’ rather than simply ‘a divisional application.’”
 Boehringer, 592 F.3d at 1351. Likewise, § 121 states “if the divisional application is filed
 before the issuance of the patent on the other application” not “if the first divisional application
 is filed before the issuance of the patent on the original application.” 35 U.S.C. § 121.


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 663 (Fed. Cir. 2008) (declining review of procedural decision in connection with invalidity

 analysis because “[i]f any prosecution irregularity or procedural lapse, however minor, became

 grist for a later assertion of invalidity, accused infringers would inundate the courts with

 arguments relating to every minor transgression they could comb from the file wrapper”). Thus,

 even if there was a timing requirement for filing a divisional under § 121, it has been met here.

        B.      Even If MSN Could Argue OTDP Applies, Despite 35 U.S.C. § 121, the
                Argument Still Fails as a Matter of Law

        MSN’s attack on the ’740 patent is an attack on the effect of the PTA awarded to the ’740

 patent. But the PTA was granted as a matter of statutory right, see 35 U.S.C. § 154(a)(2), and

 OTDP is a judge-made doctrine. Case law does not support MSN’s use of OTDP in this case.

 Nor could it because it would need to override the proper statutory grant applicable in this case.

        The “judicially-created doctrine of” OTDP prohibits “a party from obtaining an

 extension of the right to exclude through claims in a later patent that are not patentably distinct

 from claims in a commonly owned earlier patent.” Eli Lilly & Co. v. Barr Lab’ys, Inc., 251 F.3d

 955, 967 (Fed. Cir. 2001) (emphases added). “[T]he fundamental reason for the rule [of OTDP]

 is to prevent unjustified timewise extension of the right to exclude granted by a patent no matter

 how the extension is brought about.” Id. at 968 (emphasis added); see In re Hubbell, 709 F.3d

 1140, 1145 (Fed. Cir. 2013) (purpose of OTDP is “to prevent unjustified timewise extension of

 the right to exclude”) (emphasis added).

        Permitting OTDP to apply in this case would contravene the above-stated principles.

 MSN seeks to use the later filed of two patents (’271) to invalidate the earlier filed (’740). But

 by definition, because the filing of the application resulting in the ’740 patent was the original

 application, Acadia did not and could not have filed the ’740 patent to “exten[d its] right to

 exclude” past the later filed, later issued ’271 patent’s expiration date. There is therefore nothing



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 even potentially “unjustified” about the fact that, due to a statutorily mandated PTA owing to

 examiner delay, Acadia’s “right to exclude” based on the ’740 patent extends to 2026.10

                 1.      Precedent Demonstrates that OTDP Cannot Be Based on PTA

         The Federal Circuit’s decision in Novartis AG v. Ezra Ventures LLC, 909 F.3d 1367 (Fed.

 Cir. 2018) (“Ezra”) and subsequent decisions discussed below compel the rejection of MSN’s

 motion. Ezra held that OTDP does not invalidate a patent with a validly obtained statutory

 patent term extension in the form of a PTE. Id. at 1369. The Federal Circuit interpreted

 35 U.S.C. § 156 and found that the plain meaning of the statute did not raise issues of unjustified

 patent extension that invoked double patenting concerns. Id. at 1372-73. Instead, the court

 explained that §156 “was enacted to restore the value of the patent term that a patent owner loses

 during the early years of the patent because the product cannot be commercially marketed

 without [FDA] approval.” Id. It held that OTDP could not be used to nullify a PTE,

 “recogniz[ing] that a straightforward reading of § 156 mandates a term extension so long as the

 other enumerated statutory requirements for a PTE are met.” Id. at 1373. Thus, the court

 refused to employ “a judge-made doctrine [to] cut off a statutorily-authorized time extension.”

 Id. at 1375 (emphasis added).

         In so holding, the Federal Circuit noted that where it is “the earlier-filed, earlier-issued

 ’229 patent, not the later-filed, later-issued ’565 patent, that has the later expiration date, due to a

 statutorily-allowed term extension under § 156” (PTE), “the traditional concern with [OTDP]” is

 absent, and “there is no potential gamesmanship issue through structuring of priority claims as

 identified in Gilead [Scis., Inc. v. Natco Pharma Ltd., 753 F.3d 1208 (Fed. Cir. 2014)].” Id. at

 1374-75. Likewise, in the present case, the earlier-filed, earlier-issued ’740 patent, not the later-


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   As noted above, the ’740 patent also has a PTE under 35 U.S.C. § 156, which is not subject to
 challenge by MSN.


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 filed, later-issued ’271 patent, has the later expiration date. Thus, the traditional concern of

 OTDP is absent here and OTDP should not apply.

        The Federal Circuit also affirmed the principle that OTDP may not operate to

 countermand the will of the legislature in Novartis Pharms. Corp. v. Breckenridge Pharms. Inc.,

 909 F.3d 1355 (Fed. Cir. 2018) (“Breckenridge”), decided the same day as Ezra. Breckenridge

 concerned two patents with a shared priority date: the later-filed, later-issued patent, which was

 under the Uruguay Round Agreements Act (“URAA”) and thus governed by priority date,

 expired before the earlier-filed, earlier-issued pre-URAA patent. Breckenridge, F.3d 1355 at

 1357-58. In declining to allow the later-filed, later-issued, but earlier-expiring patent to serve as

 an OTDP reference patent, the Federal Circuit s explained that it would “not truncate the term

 statutorily assigned to the pre-URAA [] patent” with the OTDP doctrine. Id. (emphasis added).

        Since the Ezra decision, the only two district court decisions to address the applicability

 of OTDP to PTA have determined that PTA, like PTE, must be shielded from OTDP. In

 Mitsubishi Tanabe Pharma Corp. v. Sandoz, Inc., the challenged patent and reference patent

 claimed priority to the same application, but—like the present case—the challenged patent

 expired later solely due to PTA. 533 F. Supp. 3d 170, 211-12 (D.N.J. 2021). Relying on OTDP

 guidance from Gilead through Ezra, the court determined that “the granting of a PTA does not

 present the potential for gamesmanship by inventors to secure a second, later-expiring patent for

 the same invention.” Id. The court emphasized, “[p]erhaps more importantly, however, the

 [c]ourt is swayed by the Federal Circuit’s observation that ‘a judge made doctrine’ should not

 be used to ‘cut off a statutorily-authorized time extension.’” Id. at 214 (emphasis added).

        Similarly, in Amgen, Inc. v. Sandoz Inc., the challenged patent expired later due to

 receiving PTA (and also PTE). No. 18-11026 (MAS) (DEA), 2021 WL 5366800 (D.N.J. Sept.




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 20, 2021), at *26-27. The Amgen court, applying Ezra and considering the equities, found that

 PTA and PTE statutory term restorations could not create a basis for OTDP: “[a] difference in

 expiration dates between two patents that arises solely from a statutorily authorized time

 extension, such as a patent-term adjustment pursuant to 35 U.S.C. § 154(b) or a patent-term

 extension pursuant to 35 U.S.C. § 156, cannot be the basis for an application of [OTDP].” Id. at

 *26-27. The above precedent is clear and squarely controlling of this case.11

                2.      Cases Cited by MSN Are Inapposite

        MSN cites Gilead (MSN Br. at 6-7), but Gilead dealt with two similar patents that were

 “not part of the same family of patents and were not before the same patent examiner.” Gilead,

 753 F.3d at 1210. Instead, the patentee “crafted a separate ‘chain’ of applications [with] a later

 priority date” such that “the patents do not claim priority to any common application” and

 therefore “will expire at different times as governed by the provisions of the Uruguay Rounds

 Agreement Act.” Id. at 1210. These applications were also examined by different examiners.

 Id. Gilead presented the “narrow question” of “can a patent that issues after but expires before

 another patent qualify as a double patenting reference for that other patent,” to which the Federal

 Circuit concluded that only under the narrow “circumstances of this case” was OTDP an

 available infringement defense. Id. at 1211-12. Moreover, Gilead specifically noted that

 statutory term extensions were not at issue in the case. Id. at 1215 n.6; see Ezra, 909 F.3d at

 1374 n.2 (“The effect of statutory term extensions was expressly not considered in Gilead”).



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   Acadia notes that the Federal Circuit is currently considering an appeal from a Patent Trial and
 Appeal Board (“PTAB”) decision involving facts different from the present case. In re Cellect,
 LLC (No. 2022-1292 (Fed. Cir.)). Oral argument in the appeal took place on June 9, 2023. The
 underlying PTAB decision found that OTDP could apply to PTA in a matter where the
 challenged patent is the second one to issue and has a longer patent term than the original patent,
 the opposite of the facts in the instant case. Ex Parte Cellect, LLC, Appeal No. 2021-5046, 2021
 WL 5755316 (PTAB Dec. 1, 2021).


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        Nor does Abbvie Inc. v. Mathilda & Terence Kennedy Inst. of Rheumatology Tr., 746

 F.3d 1366 (Fed. Cir. 2014), decided before Ezra, help MSN. (MSN Br. at 6-7, 16, 18). As with

 Gilead, no part of the Abbvie holding reached the question of whether a later-filed, later-issued

 patent could be used as an invalidating OTDP reference to cut short the term of an earlier-filed,

 earlier-issued patent that expired later solely due to a statutory PTA.12 In fact, the Federal

 Circuit distinguished Abbvie in Ezra because a PTE raised “no concern that [patent owner], once

 its [] patent issued, sought to subsequently ‘secur[e] a second, later expiring patent for the same

 invention,’ as in AbbVie . . . .” Ezra, 909 F.3d at 1375 (quoting Abbvie, 764 F.3d at 1373).

        Finally, the Western District of Michigan’s decision in Magna Elecs., Inc. v. TRW Auto.

 Holdings Corp., Nos. 12-0654; 13-0324, 2015 WL 11430786 (W.D. Mich. Dec. 10, 2015) is not

 controlling or persuasive authority.13 First, the case issued before the court in Ezra refused to

 allow a judge-made doctrine to cut off a statutorily authorized time extension. Further, the facts

 in Magna were distinct from this case—for example, there was no restriction requirement and

 the patents at issue were examined by different examiners during original prosecution, such that

 it was “not even clear that the primary examiner was aware of the [other patent’s] claims.”

 Magna, 2015 WL 11430786, at *3.

                3.      Contrary to its Assertions, MSN’s Use of OTDP Against the ’740
                        Patent is Not Grounded in any Relevant Statute and Is Without Merit

                        a)   The PTA Statute Is Unambiguous and Enumerates the Only
                             Reasons a PTA May Be Denied or Shortened



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    In Abbvie, the patentee proposed that OTDP had been foreclosed by the enactment of the
 URAA (which, in part, changed the term of a patent to twenty years from the filing date of the
 patent application). Abbvie, 746 F.3d at 1373-1374. The Federal Circuit disagreed and
 reaffirmed that OTDP remained viable in certain circumstances as per Gilead.
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    MSN states “[a]t least one federal district court has held that OTDP operates to cut off extra
 patent term due to a PTA” and references Magna. (MSN Br. at 16). Magna, however, is the
 only district court to reach this conclusion, and, as discussed above, was decided before Ezra.


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          Congress acted to “[g]uarantee” patent terms, 35 U.S.C. § 154(b)(1)(A), by mandating

 the PTO adjust them in enumerated circumstances where delay was the PTO’s fault. Congress

 provided that a patent for any subject matter “shall be extended” one day for each day of delay

 in prosecution that is attributable solely to the PTO, through no fault of the patent owner.

 35 U.S.C. § 154(b)(1)(A) (emphasis added); accord Merck & Co. v. Hi-Tech Pharmacal Co.,

 482 F.3d 1317, 1322 (Fed. Cir. 2007) (“Use of the word ‘shall’ in a statute generally denotes the

 imperative.”).

          MSN fails to acknowledge that § 154 identifies only three “[l]imitations” on PTA: it

 “shall not exceed the actual number of days the issuance of the patent was delayed” in cases

 where there are overlapping grounds for adjustment ((b)(2)(A)), “[n]o patent the term of which

 has been disclaimed beyond a specified date may be adjusted under this section beyond the

 expiration date specified in the disclaimer,” ((b)(2)(B)), and PTAs are “reduced by a period equal

 to the period of time during which the applicant failed to engage in reasonable efforts to

 conclude prosecution of the application” ((b)(2)(C)). As a result, the statute provides a regime of

 mandatory compensation for delays caused solely by the PTO (as long as not double-counted),

 alterable only for a specifically enumerated list of actions, or failures to act, on the part of

 applicants. See Reflectone, Inc. v. Dalton, 60 F.3d 1572, 1576 (Fed. Cir. 1995) (“inclusion of

 [specific] exception[s] . . . implies the exclusion of any others”). OTDP, which is premised on

 actions taken by a patentee, is not on the list of enumerated actions that can alter a mandatory

 PTA.14




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   PTE, which cannot trigger OTDP, has similar mandatory language and limitations, thus
 providing another basis for treating PTA and PTE the same for OTDP purposes. See 35 U.S.C.
 §§ 156(c), 156(g)(6). If there are multiple patents involved in the same regulatory review period
 for a given product, a patent owner must choose only one patent for a PTE. Id. at § 156(c)(4).


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        The legislative history buttresses the statutory language’s clear indication that identifying

 the party at fault is crucial to this regime’s operation. See H.R. REP. 106-287 (Aug. 3, 1999) at

 48-9 (“Title III amends the provisions in the Patent Act that compensate patent applicants for

 certain reductions in patent term that are not the fault of the applicant . . . Only those who

 purposely manipulate the system to delay the issuance of their patents will be penalized under

 Title III.” (emphases added)). Thus, Congress envisioned applicant fault as the sole ground for

 which a patentee would not be assured a 17-year-term floor. Here, Acadia was a non-dilatory

 applicant, and the misapplication of OTDP would truncate the term of the ’740 patent.

                        b) Congress Did Not Implicitly Approve Applying OTDP to PTAs

        MSN asserts that OTDP “has been recognized, addressed, and shaped, by statutes” and

 that “Congress repeatedly addressed and authorized the OTDP doctrine” to argue that OTDP can

 apply against PTA. (MSN Br. at 13-14). MSN’s arguments miss the point—a judge-made

 doctrine with acknowledgement from Congress cannot override a statutorily mandated extension.

 See U.S. v. Oakland Cannabis Buyers’ Coop., 532 U.S. 483, 497 (2001) (court may not use its

 equitable powers to “override Congress’ policy choice, articulated in a statute”); Ezra, 909 F.3d

 at 1375. While these statutes may have some interaction with and provide non-exclusive

 remedies for OTDP, OTDP is not derived from, or protected by, statute.

        MSN also argues that OTDP must apply to PTA because the Safe Harbor of §121 now

 only applies to PTA under § 154(b). (MSN Br. at 17-18). MSN’s circular argument is without

 merit. Section 121 does not by its terms purport to be the exclusive way for a patentee to avoid

 OTDP. As shown by Ezra, Mitsubishi Tanabe, and Amgen, courts have the power to decide

 when this judge-made, equitable doctrine is applicable. Moreover, the role of OTDP (although

 still relevant), and thus § 121 in connection with OTDP, has gradually reduced over time. See

 Abbvie, 764 F.3d at 1373-74 (“the doctrine of [OTDP] is less significant in post-URAA patent


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 disputes”); Boehringer, 592 F.3d at 1346 (noting the “purpose” of OTDP may be limited to pre-

 URAA patents).

        Next, as MSN notes, PTEs were then “placed outside of the power of OTDP” by Ezra.

 (MSN Br. at. 17). And the Mitsubishi Tanabe and Amgen courts have done the same with PTA.

 These decisions on PTE and PTA are not erroneous extensions of judicial power effectively

 abrogating § 121, but are instead an appropriate upholding of congressional intent to provide

 statutory protection of PTA. Section 121 remains as law. And, while its extent of use may have

 become gradually more limited over time through the enactment of URAA and then subsequent

 court decisions on PTE and PTA, Acadia is not aware of (and MSN does not cite) any legal

 principles precluding a court from providing exceptions to judge-made doctrines in order to

 maintain a certain level of use for a statue that provides a non-exclusive remedy for that doctrine.

        In asserting there is a presumption that Congress “legislate[s] against the backdrop of

 existing law,” MSN implies that because Congress discussed OTDP when reviewing the

 CREATE Act, it is somehow relevant to the current issue. (MSN Br. at 15). The Congressional

 Record cited by MSN, however, makes no mention of PTA or PTE. See 150 Cong. Rec. S7521

 (June 25, 2004). The fact that Congress included a terminal disclaimer limitation in the PTA

 statute itself demonstrates that it was legislating against a backdrop of existing law and made

 specific decisions on the limits and exceptions it wanted to impose for PTA. See 35 U.S.C.

 § 154(b)(2)(B). In sum, nothing in the statutes relied upon by MSN prohibit courts from

 granting a PTA exception to OTDP.

 V.     CONCLUSION

        For the foregoing reasons, Acadia respectfully requests denial of MSN’s motion and

 grant of Acadia’s cross motion, submitted herewith.




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  Dated: June 14, 2023                     SAUL EWING LLP


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